                             Case 3:15-cv-00785-JBA Document 207 Filed 11/30/17 Page 1 of 1
                                                                                                                   Civil- (Dec-2008)
                                                                HONORABLE:     Janet Bond Arterton
                                     DEPUTY CLERK Breigh Freberg              RPTR/ECRO/TAPE Tracy Gow
         TOTAL TIME: 1                hours 34   minutes
                                        DATE:  11/30/2017     START TIME: 10:17am        END TIME: 11:51am
                                                           LUNCH RECESS         FROM:             TO:
                                                   RECESS (if more than ½ hr)   FROM:             TO:

         CIVIL NO. 15CV785 (JBA)


                     FIH                                                             J. Glasser; B. Hutman; S. Lieberman
                                                                                             Plaintiff’s Counsel
                                        vs
                     Foundation Capital Partners                                     P. Nolin; S. Walko; A. Sisca; A. Zeitlin;
                                                                                             Defendant’s Counsel

                                                   COURTROOM MINUTES- CIVIL

                            ✔ Motion hearing          O/A            Show Cause Hearing
                                Evidentiary Hearing                  Judgment Debtor Exam
                                Miscellaneous Hearing

         ✔ .....#173        Motion for Summary Judgment                                 granted       denied ✔ advisement
         ✔ .....#174 Motion for Summary Judgment                                        granted       denied ✔ advisement
         ✔ .....#176 Motion for Summary Judgment                                        granted       denied ✔ advisement
         ✔ .....#178 Motion for Summary Judgment                                        granted       denied ✔ advisement
         ✔ .....#179 Motion for Summary Judgment                                        granted       denied ✔ advisement
            .....#          Motion                                                      granted       denied       advisement
            .....#          Motion                                                      granted       denied       advisement
            .....           Oral Motion                                                 granted       denied       advisement
            .....           Oral Motion                                                 granted       denied        advisement
            .....           Oral Motion                                                 granted       denied       advisement
           .....            Oral Motion                                                 granted       denied        advisement
            .....              Briefs(s) due                 Proposed Findings due                Response due
           .............                                                                                   filed   docketed
           .............                                                                                   filed    docketed
           .............                                                                                   filed    docketed
           .............                                                                                   filed    docketed
            .............                                                                                  filed    docketed
            .............                                                                                  filed    docketed
            ............                           Hearing continued until                            at

Notes:
